

Matter of Dhir v Winslow (2024 NY Slip Op 00529)





Matter of Dhir v Winslow


2024 NY Slip Op 00529


Decided on February 2, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., BANNISTER, OGDEN, GREENWOOD, AND DELCONTE, JJ.


863 CAF 21-01414

[*1]IN THE MATTER OF SIRBARINDER DHIR, PETITIONER-APPELLANT,
vRAIMOND WINSLOW, RESPONDENT-RESPONDENT. (APPEAL NO. 1.) 






DAVID J. PAJAK, ALDEN, FOR PETITIONER-APPELLANT.
EASTON THOMPSON KASPEREK SHIFFRIN LLP, ROCHESTER (DAVID M. ABBATOY, JR., OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from an order of the Family Court, Erie County (Mary G. Carney, J.), dated August 25, 2021, in a proceeding pursuant to Family Court Act article 8. The order granted respondent's motion to dismiss the petition. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see generally Matter of Rusiecki v Marshall, 147 AD3d 1395, 1395-1396 [4th Dept 2017]; Matter of Chendo O., 175 AD2d 635, 635 [4th Dept 1991]).
Entered: February 2, 2024
Ann Dillon Flynn
Clerk of the Court








